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  8   Defendant NEUROPATHY
  9   SOLUTIONS, INC. DBA SUPERIOR
      HEALTH CENTERS
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 11
                          UNITED STATES DISTRICT COURT
 12
 13                      CENTRAL DISTRICT OF CALIFORNIA
 14                              SOUTHERN DIVISION
 15
 16   MASSACHUSETTS BAY INSURANCE             Case No.: 8:21-cv-00607-DOC-JDE
 17   COMPANY,                                Hon. David O. Carter
 18        Plaintiff,
 19                                           DEFENDANT NEUROPATHY
           vs.                                SOLUTION INC. dba SUPERIOR
 20                                           HEALTH CENTER’S ANSWER TO
 21   NEUROPATHY SOLUTIONS, INC. dba          PLAINTIFF’S FIRST AMENDED
      SUPERIOR HEALTH CENTERS,                COMPLAINT FOR DECLARATORY
 22   RIGOBERTO BERNAL, an individual,        RELIEF; DEMAND FOR JURY
 23   MARILENA BERNAL, an individual;         TRIAL
      and DOES 1-10, inclusive,
 24
 25        Defendants.
 26
 27
 28
         DEFENDANT NEUROPATHY SOLUTION INC. dba SUPERIOR HEALTH CENTER’S ANSWER TO
                PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DECLARATORY RELIEF
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  1         Defendant     Neuropathy Solutions,         Inc.   dba   Superior   Health   Centers
  2 (“Neuropathy” or “Defendant”), hereby answers Plaintiff Massachusetts Bay Insurance
  3 Company’s (“MBIC”) First Amended Complaint (“FAC”) as follows:
  4                                      THE PARTIES
  5        1.      Neuropathy lacks sufficient knowledge or information to form a belief as
  6 to the truth or the falsity of the allegations contained in paragraph 1 of the FAC, and on
  7 that basis, denies the allegations contained therein.
  8        2.      Neuropathy admits the allegations in paragraph 2 of the FAC.
  9        3.      Neuropathy lacks sufficient knowledge or information to form a belief as
 10 to the truth or the falsity of the allegations contained in paragraph 3 of the FAC, and on
 11 that basis, denies the allegations contained therein.
 12        4.      Neuropathy lacks sufficient knowledge or information to form a belief as
 13 to the truth or the falsity of the allegations contained in paragraph 4 of the FAC, and on
 14 that basis, denies the allegations contained therein.
 15                             JURISDICTION AND VENUE
 16        5.      Neuropathy admits that the FAC purports to set forth a claim for
 17 declaratory judgment under 28 U.S.C. §2201 et seq., and asserts original jurisdiction
 18 based upon 28 U.S.C. §§2201 and 1332. Except as expressly admitted, Neuropathy
 19 denies the allegations in paragraph 5.
 20        6.      Neuropathy admits that the amount in controversy exceeds $75,000. The
 21 Complaint in the Underlying Lawsuit speaks for itself. Except as expressly admitted,
 22 Neuropathy denies the allegations in paragraph 6.
 23        7.      Neuropathy admits that venue in this district is proper and that
 24 Neuropathy has its principal place of business in Irvine, California. To the extent
 25 paragraph 7 relates to persons or entities other than Neuropathy, Neuropathy lacks
 26 sufficient knowledge or information to form a belief as to the truth or falsity of the
 27 remaining allegations contained in paragraph 7 of the FAC, and on that basis denies the
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  1 remaining allegations contained therein.
  2                              GENERAL ALLEGATIONS
  3         A.    The Underlying Lawsuit
  4        8.     Neuropathy admits that the Underlying Lawsuit contains various
  5 allegations and that the Complaint and other pleadings in the Underlying Lawsuit
  6 speak for themselves. Except as expressly admitted, Neuropathy denies each and
  7 every allegations in paragraph 8 on the basis that it contains an incomplete and
  8 inaccurate characterization of the allegations of the Underlying Lawsuit.
  9        9.     Neuropathy admits that the Underlying Lawsuit contains various
 10 allegations and that the Complaint and other pleadings in the Underlying Lawsuit
 11 speak for themselves. Except as expressly admitted, Neuropathy denies each and
 12 every allegations in paragraph 9 on the basis that it contains an incomplete and
 13 inaccurate characterization of the allegations of the Underlying Lawsuit.
 14        10.    Neuropathy admits that the Underlying Lawsuit contains various
 15 allegations and that the Complaint and other pleadings in the Underlying Lawsuit
 16 speak for themselves. Except as expressly admitted, Neuropathy denies each and
 17 every allegations in paragraph 10 on the basis that it contains an incomplete and
 18 inaccurate characterization of the allegations of the Underlying Lawsuit.
 19        11.    Neuropathy admits that the Underlying Lawsuit was filed on September
 20 9, 2020 and contains the causes of listed in paragraph 11 of the FAC. Except as
 21 expressly admitted, Neuropathy denies the allegations in paragraph 6.
 22         B.    Defendant’s Insurance Policy with MBIC
 23        12.    Neuropathy admits that MBIC issued the Policy identified in paragraph
 24 12 of the FAC, the terms and coverage provisions of which speak for themselves.
 25 Neuropathy denies the allegations contained in paragraph 12 of the FAC to the extent
 26 they are inconsistent with the terms and coverage provisions of the Policy.
 27        13.    Neuropathy admits that the Policy issued by MBIC includes a number of
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  1 terms and coverage provisions which speak for themselves. Neuropathy denies the
  2 allegations contained in paragraph 13 of the FAC to the extent they are inconsistent
  3 with the terms and coverage provisions of the Policy.
  4           C.   MBIC’s Reservation of Rights
  5        14.     Neuropathy admits that it duly provided notice of the Underlying Lawsuit
  6 to MBIC.
  7        15.     Neuropathy admits that MBIC denied coverage for the Underlying
  8 Lawsuit on October 15, 2020. MBIC’s October 15, 2020 denial speaks for itself.
  9 Except as expressly admitted, Neuropathy denies the allegations contained in
 10 paragraph 15 of the FAC.
 11        16.     Neuropathy admits that its counsel responded to MBIC’s denial on
 12 November 16, 2020, which response speaks for itself.
 13        17.     Neuropathy admits that it further communicated with MBIC on January
 14 14, 2021 and January 21, 2021, which communications speak for themselves, and on
 15 that basis, denies any allegation of paragraph 17 inconsistent with the January 14, 2021
 16 and January 21, 2021 communications.
 17        18.     Neuropathy admits that on February 25, 2021, MBIC agreed to defend
 18 Neuropathy subject to a reservation of rights, which speaks for itself, and on that basis,
 19 denies any allegation of paragraph 18 inconsistent with MBIC’s February 25, 2021
 20 letter.
 21        19.     Neuropathy admits that on February 25, 2021, MBIC agreed to defend
 22 Neuropathy, subject to a reservation of rights, which speaks for itself, and on that
 23 basis, denies any allegation of paragraph 19 inconsistent with MBIC’s February 25,
 24 2021 letter. To the extent the allegations contained in paragraph 22 are legal
 25 conclusions and/or argument, they are not subject to admission or denial.
 26        20.     Neuropathy admits that on February 25, 2021, MBIC agreed to defend
 27 Neuropathy, subject to a reservation of rights, which speaks for itself, and on that
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  1 basis, denies any allegation of paragraph 20 inconsistent with MBIC’s February 25,
  2 2021 letter. To the extent the allegations contained in paragraph 22 are legal
  3 conclusions and/or argument, they are not subject to admission or denial.
  4       21.      Neuropathy admits that on February 25, 2021, MBIC agreed to defend
  5 Neuropathy, subject to a reservation of rights, which speaks for itself, and on that
  6 basis, denies any allegation of paragraph 21 inconsistent with MBIC’s February 25,
  7 2021 letter.    To the extent the allegations contained in paragraph 22 are legal
  8 conclusions and/or argument, they are not subject to admission or denial.
  9       22.      The allegations contained in paragraph 22 are legal conclusions and/or
 10 argument not subject to admission or denial.       To the extent that paragraph 22 of the
 11 FAC requires an admission or denial, Neuropathy denies the allegations contained in
 12 paragraph 22 of the FAC.
 13                              FIRST CAUSE OF ACTION
 14                                    Declaratory Relief
 15       23.      Neuropathy repeats and incorporates by reference its answers to
 16 paragraphs 1 through 22 above.
 17       24.      The allegations contained in paragraph 24 are legal conclusions and/or
 18 argument not subject to admission or denial.       To the extent that paragraph 24 of the
 19 FAC requires an admission or denial, Neuropathy denies the allegations contained in
 20 paragraph 24 of the FAC.
 21         a. The allegations in paragraph 24(a) are legal conclusions and/or argument, to
 22             which no response is required. To the extent that paragraph 24(a) of the FAC
 23             requires an admission or denial, Neuropathy denies the allegations contained
 24             in paragraph 24(a) of the FAC.
 25         b. The allegations in paragraph 24(b) are legal conclusions and/or argument, to
 26             which no response is required. To the extent that paragraph 24(b) of the
 27             FAC requires an admission or denial, Neuropathy denies the allegations
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  1              contained in paragraph 24(b) of the FAC.
  2         c. The allegations in paragraph 24(c) are legal conclusions and/or argument, to
  3              which no response is required. To the extent that paragraph 24(c) of the FAC
  4              requires an admission or denial, Neuropathy denies the allegations contained
  5              in paragraph 24(c) of the FAC.
  6        25.      Neuropathy admits that the Court has the authority to declare the rights
  7 and other obligations of the parties pursuant to the Declaratory Judgment Act, 22
  8 U.S.C. section 2201. Except as expressly admitted, Neuropathy denies the allegations
  9 in paragraph 25.
 10        26.      Neuropathy denies that a judicial determination of this controversy is
 11 necessary and appropriate at this stage of the Underlying Lawsuit. Neuropathy also
 12 denies that MBIC is entitled to a declaration that there is no coverage available for the
 13 Underlying Lawsuit under the Policy.
 14                                 PRAYER FOR RELIEF
 15         WHEREFORE, Neuropathy requests that MBIC be denied the statement of
 16 relief it has prayed for and that the Court instead: (1) determine, decide, adjudicate and
 17 declare that MBIC does have a duty to defend Neuropathy in the Underlying Lawsuit;
 18 (2) determine, decide, adjudicate and declare that MBIC does have a duty to indemnify
 19 Neuropathy in the Underlying Lawsuit; and (3) award Neuropathy all such other relief
 20 as the Court may deem appropriate.
 21                               AFFIRMATIVE DEFENSES
 22         Additionally, Neuropathy answers the FAC by way of affirmative defenses
 23 alleged below. By alleging these defenses, Neuropathy is not agreeing or conceding
 24 that it has the burden of proof or persuasion on any of these issues.
 25                            FIRST AFFIRMATIVE DEFENSE
 26        1.       MBIC’s claims are barred, in whole or in part, because the FAC fails to
 27 state a claim upon which relief can be granted.
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  1                           SECOND AFFIRMATIVE DEFENSE
  2        2.       The FAC does not allege an actual controversy that is ripe for
  3 adjudication.
  4                           THIRD AFFIRMATIVE DEFENSE
  5        3.       MBIC’s claims are barred, in whole or in part, because the Underlying
  6 Lawsuit alleges potentially covered claims triggering MBIC’s duty to defend.
  7                          FOURTH AFFIRMATIVE DEFENSE
  8        4.       MBIC’s claims are barred, in whole or in part, because the “Professional
  9 Services” exclusion in the Policy does not apply to negate MBIC’s duty to defend or
 10 duty to indemnify Neuropathy in the Underlying Lawsuit.
 11                            FIFTH AFFIRMATIVE DEFENSE
 12        5.       MBIC’s claims are barred, in whole or in part, because the “Expected or
 13 Intended” exclusion in the Policy does not apply to negate MBIC’s duty to defend or
 14 duty to indemnify Neuropathy in the Underlying Lawsuit.
 15                            SIXTH AFFIRMATIVE DEFENSE
 16        6.       MBIC’s claims are barred, in whole or in part, because Insurance Code
 17 section 533 does not apply to negate MBIC’s duty to defend or duty to indemnify
 18 Neuropathy in the Underlying Lawsuit.
 19                           SEVEN AFFIRMATIVE DEFENSE
 20        7.       MBIC’s claims are barred, in whole or in part, by the doctrine of unclean
 21 hands.
 22                           EIGHT AFFIRMATIVE DEFENSE
 23        8.       MBIC’s claims are barred, in whole or in part, by the doctrine of laches.
 24                           NINTH AFFIRMATIVE DEFENSE
 25        9.       MBIC’s claims are barred, in whole or in part, by the doctrines of waiver,
 26 acquiescence, and/or estoppel.
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  1                          TENTH AFFIRMATIVE DEFENSE
  2       10.      MBIC’s claims are barred, in whole or in part, to the extent the
  3 applicable statutes of limitations have expired.
  4                       ELEVENTH AFFIRMATIVE DEFENSE
  5       11.     MBIC’s claims are barred, in whole or in part, to the extent MBIC
  6 breached the covenant of good faith and fair dealing implied by law in the Policy.
  7                        TWELVTH AFFIRMATIVE DEFENSE
  8       12.     Neuropathy reserves its right to assert further and additional affirmative
  9 defenses based upon discovery of additional, different or more definite facts.
 10         WHEREFORE, having fully answered the FAC, and having asserted its
 11 affirmative defenses, Neuropathy prays for judgment against MBIC, as follows:
 12         1.    That this Court adjudicate, determine and decree that the Underlying
 13 Lawsuit alleges potentially covered claims triggering MBIC’s duty to defend
 14 Neuropathy in the Underlying Lawsuit;
 15         2.    That this Court adjudicate, determine and decree that the “Professional
 16 Services” exclusion, the “Expected or Intended Injury” exclusion and Insurance Code
 17 Section 533 to not apply to terminate MBIC’s duty to defend Neuropathy in the
 18 Underlying Lawsuit.
 19         3.    That this Court adjudicate, determine and decree that MBIC has a duty to
 20 indemnify Neuropathy in the Underlying Lawsuit;
 21         4.    For such other and further relief as the Court deems just and proper.
 22
      Date: May 3, 2021                            LITTLE & KARZAI, LLP
 23
                                               By: /s/ Eric R. Little
 24                                                 Eric R. Little, Esq.
                                                    Najwa Tarzi Karzai, Esq.
 25
 26                                                Attorneys for Defendant
                                                   NEUROPATHY SOLUTIONS, INC.
 27                                                DBA SUPERIOR HEALTH CENTERS
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  1                             DEMAND FOR JURY TRIAL

  2
             Neuropathy hereby demands a trial for jury pursuant to Rule 38(b) of the
  3
      Federal Rules of Civil Procedure.
  4
  5   Date: May 3, 2021                            LITTLE & KARZAI, LLP
  6                                            By: /s/ Eric R. Little
                                                    Eric R. Little, Esq.
  7                                                 Najwa Tarzi Karzai, Esq.
  8                                                Attorneys for Defendant
  9                                                NEUROPATHY SOLUTIONS, INC.
                                                   DBA SUPERIOR HEALTH CENTERS
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